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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 17-9-M-DLC
                     Plaintiff,
                                                     FINDINGS AND
        vs.                                        RECOMMENDATION
                                                   CONCERNING PLEA
 IRVING HERNANDEZ LOPEZ,

                     Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of possessing with the intent to

distribute methamphetamine in violation of21 U.S.C. § 841(a)(l), as set forth in

Count III of the Indictment. Defendant further agrees to the forfeiture allegation

in the Indictment. In exchange for Defendant's plea, the United States has agreed

to dismiss Counts I and X of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea to the criminal offense charged against him, and an


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informed and voluntary admission to the allegation of forfeiture;

       2. That the Defendant is aware of the nature of the charge against him and

the consequences of pleading guilty to the charge;

       3. That the Defendant understands the allegation of forfeiture and the

consequences of admitting to the allegation;

       4. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty to the criminal

offense charged against him, and admitting to the allegation of forfeiture;

       5. That both his plea of guilty to the criminal offense charged against him

and his admission to the allegation of forfeiture are knowingly and voluntarily

entered, and are both supported by independent factual grounds sufficient to prove

each of the essential elements of the criminal offense charged and the legal basis

for the forfeiture.

       The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of the offense

charged in Count III of the Indictment, and that sentence be imposed. I further

recommend that Counts I and X of the Indictment be dismissed. I further


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recommend the agreed forfeiture be imposed against Defendant.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

      DATED this 21st day of June, 20



                                    J r miah C. Lynch
                                       ited States Magistrate Judge




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